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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 1:21-cv-23491-GRAHAM/MCALILEY

 DANIELLA SOSA,

        Plaintiff,

 vs.

 GASTROMED, LLC,

       Defendants.
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                NOTICE OF APPEARANCE AS COUNSEL FOR PLAINTIFF

        Toussaint Cummings, Esq., of the FairLaw Firm, notifies the Court and all parties of his

 appearance in this action as counsel for Plaintiff, Daniella Sosa, in this action and requests that all

 pleadings, correspondence, and documents related to this matter be served on him at the below

 address / email address.

        Dated this 21st day of October 2021.


                                                           s/ Toussaint Cummings, Esq.
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